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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 08-20574-CR-LENARD/GARBER


 UNITED STATES OF AMERICA )
                            )
                 Plaintiff, )
 vs.                        )
                            )
 DAVID PACKOUZ,             )
                            )
                 Defendant. )
                            )

                 GOVERNMENT’S FIRST SUPPLEMENTAL RESPONSE TO
                       THE STANDING DISCOVERY ORDER

        The United States hereby files this first supplemental response to the Standing Discovery

 Order. This response also complies with Local Rule 88.10 and Federal Rule of Criminal Procedure

 16, and is numbered to corresponded with Local Rule 88.10.


               5.     Books, papers, documents, photographs, tangible
                      objects, buildings or places, or copies or portions
                      thereof, which are material to the defendant’s defense,
                      or which the Government intends to use as evidence
                      at trial to prove its case in chief, or were obtained
                      from or belonging to the defendant, include the
                      following and are available for review by contacting
                      the vender referenced below:

                      SWG-13 through SWG-142
                      DCMA 0001 through DCMA 0468




                      Vender:
Case 1:08-cr-20574-JAL Document 97 Entered on FLSD Docket 07/29/2008 Page 2 of 5




                   Xpediacopy
                   Attn: Ignacio Montero
                   2800 Glades Circle, Suite 118
                   Weston, FL 33327
                   (954) 384-2112 Office
                   (954) 384-2115 Fax

                   These materials are not necessarily copies of all the
                   books, papers, documents, etc., that the Government
                   may intend to introduce at trial.




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        The Government is aware of its continuing duty to disclose such newly discovered additional
 information required by the Standing Discovery Order, Rule 16(c) of the Federal Rules of Criminal
 Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.


                                                     Respectfully submitted,

                                                     R. ALEXANDER ACOSTA
                                                     UNITED STATES ATTORNEY

                                                     /s
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                                                     /s
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 29, 2008, I electronically filed the foregoing document

 with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

 served this day on all counsel of record identified on the attached Service List in the manner

 specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in some

 other authorized manner for those counsel or parties who are not authorized to receive electronically

 Notices of Electronic Filing.

                                                       s/
                                                       Eloisa Delgado Fernandez
                                                       Assistant United States Attorney




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                                       SERVICE LIST
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